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  EXHIBIT B
            Case 4:22-cv-07739-JST Document 30-2 Filed 03/03/23 Page 2 of 2
       STATE OF CALIFORNIA | State and Consumer Services Agency                            GAVIN NEWSOM, GOVERNOR

       DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                 KEVIN KISH, DIRECTOR

       2218 Kausen Drive, Suite 100 | Elk Grove, CA | 95758
       800-884-1684 | Videophone for the DEAF 916-226-5285
       www.dfeh.ca.gov | e-mail: contact.center@dfeh.ca.gov




      EEOC Number:                      550-2023-00492

      Case Name:                        Carolina Strifling v. TWITTER INC

      Filing Date:                      February 22, 2023

                            NOTICE TO COMPLAINANT AND RESPONDENT

This is to advise you that the above-referenced complaint is being dual filed with the
California Department of Fair Employment and Housing (DFEH) by the U.S. Equal
Employment Opportunity Commission (EEOC). The complaint will be filed in accordance
with California Government Code section 12960. This notice constitutes service pursuant
to Government Code section 12962.

The EEOC is responsible for the processing of this complaint and the DFEH will not be
conducting an investigation into this matter. Please contact the EEOC directly for any
discussion of the complaint or the investigation.

                             NOTICE TO COMPLAINANT OF RIGHT TO SUE

This letter is also your Right to Sue notice. This Right to Sue Notice allows you to file a
private lawsuit in State court. According to Government Code section 12965,
subdivision (c)(1)(C), you may bring a civil action under the provisions of the Fair
Employment and Housing Act against the person, employer, labor organization or
employment agency named in the above-referenced complaint. The lawsuit may be filed in
a State of California Superior Court. Government Code section 12965, subdivision
(c)(1)(C), provides that such a civil action must be brought within one year from the date of
this notice. Pursuant to Government Code section 12965, subdivision (e)(1), this one-year
period will be tolled during the pendency of the EEOC's investigation of your complaint.
You should consult an attorney to determine with accuracy the date by which a civil action
must be filed. This right to file a civil action may be waived in the event a settlement
agreement is signed.

Be advised, the DFEH does not retain case records beyond three years after a complaint
is filed.




                                                                            DFEH-200-02 (Rev. 02/2022)
